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 4
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   For Fox Ortega Enterprises, Inc.
 6 Dba Premier Cru

 7

 8                               UNITED STATES BANKRUPTCY COURT
 9                                 NORTHERN DISTRICT OF CALIFORNIA
10                                          OAKLAND DIVISION
11 In re
                                                       Case No. 16-40050-WJL
12 FOX ORTEGA ENTERPRISES, INC., dba
   PREMIER CRU
13                                                     Chapter 7
             Debtor.
14

15

16 MICHAEL G. KASOLAS, Chapter 7 Trustee
   for Fox Ortega Enterprises, Inc. dba Premier
17 Cru

18                  Plaintiff                          Adversary No.

19 vs.

20 BELMONT WINE EXCHANGE, LLC
                                                       ORIGINAL COMPLAINT
21

22         Plaintiff Michael G. Kasolas, the Chapter 7 Trustee (the “Trustee”) for Fox Ortega

23 Enterprises, Inc. dba Premier Cru (“Premier Cru” or the “Debtor”), brings this adversary

24 proceeding against Belmont Wine Exchange, LLC (“Defendant”) and alleges as follows:

25                                           INTRODUCTION

26          1.      This suit seeks the avoidance and recovery of transfers from Premier Cru to the

27 Defendant as well as the avoidance of certain obligations Premier Cru incurred in the Defendant’s

28 favor. These transfers and obligations were part of a fraudulent scheme involving the sale of wine

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 1 that caused the loss of tens of millions of dollars. At the time of the Premier Cru’s bankruptcy,

 2 approximately 4,500 customers had not received pre-arrival wine for which that had already paid,

 3 with losses reaching $45 million.

 4          2.     Transfers to the Defendant and the obligations incurred by Premier Cru were made

 5 as part of the fraud and with the actual intent to hinder, delay, or defraud Premier Cru’s creditors.

 6 Premier Cru incurred obligations in favor of the Defendant for the purpose of acquiring funds

 7 necessary for the continuation of the fraud. Later, Premier Cru made transfers to the Defendant

 8 with the purpose of concealing the ongoing fraud, to lull customers into a false sense that Premier

 9 Cru was a legitimate business, to cause the customers to continue to purchase wine from Premier

10 Cru, and to prevent them from complaining to law enforcement authorities.

11          3.     The Trustee requests that this Court grant relief that will return the value of the

12 transfers to the Defendant that were made as a part of the scheme. Specifically, the Trustee seeks

13 the avoidance and recovery of the transfers made and obligations incurred that are identified below

14 under 11 U.S.C. §§ 544, 548, 550 and California Civil Code § 3439.04.

15                                   JURISDICTION AND VENUE
16          4.     This is an adversary proceeding, pursuant to Federal Rule of Bankruptcy

17 Procedure, which relates to the Chapter 7 proceeding captioned In re Fox Ortega Enterprises, Inc.,

18 dba Premier Cru, Case No. 16-40050-WJL (Bankr. N.D. Cal., Oakland Div.).
19          5.     This Court has subject matter jurisdiction over this action pursuant to section 28

20 U.S.C. § 1334(b) and 28 U.S.C. § 157(a), in that this adversary proceeding arises in, arises under,

21 and/or relates to Premier Cru’s chapter 7 case.

22          6.     This adversary proceeding is a core proceeding under section 157(b)(2) of Title 28

23 of the United States Code, such that this Court has jurisdiction to hear and determine this

24 proceeding and to enter an appropriate order and judgment. To the extent necessary, the Trustee

25 consents to entry of a final order or judgment by this Court.

26          7.     The Defendant’s forum-related activities give rise to the action before the Court.

27 The Defendant purposefully directed its activities and consummated the transactions described

28 below within California, thereby invoking the benefits and protection of California law. As

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 1 reflected in the applicable terms and conditions for the transactions described below, “[a]ny wine

 2 sold to you by Premier Cru is sold in California, and title passes to you, the buyer, in California.”

 3 Furthermore, the Trustee’s claims arise out of or relate to the Defendant’s forum-related activities.

 4           8.       This Court is the proper venue for this adversary proceeding pursuant to 28 U.S.C.

 5 § 1409(a) because the Debtor’s chapter 7 case is pending in this judicial district.

 6
                                                  PARTIES
 7
             9.       The Trustee is the duly appointed chapter 7 trustee for the bankruptcy estate of
 8
     Premier Cru. Premier Cru entered bankruptcy proceedings on January 8, 2016 (the “Petition
 9
     Date”), at which time the Trustee was appointed by the Court. The Trustee is duly authorized and
10
     empowered to pursue any and all claims of the Debtor’s estate.
11
             10.      Defendant Belmont Wine Exchange, LLC is a California limited liability company
12
     with its principal place of business at 25811 Clawiter Road, Hayward, California 94545.
13
     Defendant may be served with process through its registered agent, Andrew Harris Zimmerman at
14
     209 St. James Drive, Piedmont, California 94611.
15
                                        GENERAL ALLEGATIONS
16
        I.         Premier Cru’s Operations
17
             11.      Premier Cru was founded in 1980 by John Fox (“Fox”) and Hector Ortega as a
18
     seller of top-quality wines in the Bay Area. During all relevant times, Fox owned equity in
19
     Premier Cru and served as its President. Fox made all significant business decisions for Premier
20
     Cru. Fox was the sole manager of the company’s finances, including payment of Premier Cru’s
21
     bills and expenses, as well as obtaining business loans and financing from banks or individuals to
22
     fund Premier Cru’s operations.
23
             12.      Premier Cru originally operated out of a small storefront in Oakland with a focus
24
     on hard to find and limited production offerings. As Premier Cru’s popularity grew, the company
25
     determined that it would begin purchasing its supply of wine from sources overseas and obtained
26
     its own import license.      Premier Cru touted that it could eliminate the middle man while
27

28

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 1 simultaneously increasing the allocation of hard to locate wines by supposedly sourcing its

 2 inventory directly.

 3          13.    The Debtor generally sold wine in two ways. First, the company sold wine that

 4 was, or supposedly was, physically held in Premier Cru’s inventory. Second, Premier Cru sold

 5 wine on a “pre-arrival” basis, whereby customers paid for wine that was not in Premier Cru’s

 6 physical possession but which Premier Cru represented it had already purchased.

 7          14.    In the wine industry, there are generally two ways to purchase wine before it is

 8 released to the open market. “Wine futures” involve the purchase of wine while it is still in the

 9 barrel and before the wine is bottled. Because the purchaser must wait for the wine to age in the

10 barrel, buyers can expect to wait years before receiving the wine they purchased. Premier Cru did

11 not sell wine futures. In contrast, “pre-arrival” wines are sold to collectors months before a wine

12 is released to the open market, but after the wine has actually been bottled. Unlike “wine futures,”

13 there is generally less risk in pre-arrival purchasing because importers know exactly how many

14 bottles they will receive from the supplier. Pre-arrival sales allow consumers to purchase difficult

15 to locate wines at prices that are generally lower than what is found in the market. Premier Cru

16 purportedly sold pre-arrival wines.

17          15.    Premier Cru sold pre-arrival wine through a website operated and maintained by

18 Premier Cru or through salespeople who worked in the Premier Cru offices and reported to Fox.
19 The “Terms and Conditions” associated with the sale of pre-arrival wine provided as follows:

20          The term “Pre-Arrival” is applied to wines we have purchased (typically abroad)
            that have not arrived yet. Depending on the particular wine, the arrival time is
21          typically 6+ months to over two years (in the case of Bordeaux Futures, for
            example).
22

23          Many new releases of highly desirable, limited-production wines (ie – Burgundy,
            Rhone, Italian, etc.) are offered on a “Pre-Arrival” basis by our suppliers. These
24          offerings typically take 6 to 18 months to arrive and are often the only way to
            source the wines before they sell out (and at optimal prices). We send an email
25          notification when your wine arrives.
26
     According to Fox, the majority of Premier Cru’s revenue was derived from pre-arrival sales.
27

28

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 1      II.         The Fraud
 2            16.     On or about August 11, 2016, Fox entered into a guilty plea in guilty plea in his

 3 criminal case [United States v. John Fox, Case No. CR 16-281 JD, N.D. Cal] and executed a Plea

 4 Agreement in which he admitted that he operated the Debtor as a fraudulent scheme. In his plea

 5 agreement, Fox admitted that he “devised a scheme to defraud, and a scheme for obtaining

 6 property by means of false and fraudulent pretenses, representations and omissions, through

 7 Premier Cru’s sale of pre-arrival wine.” Fox further admitted that his fraudulent conduct began as

 8 early as 1993 or 1994. Through Fox’s actions, Premier Cru engaged in a massive fraud whereby

 9 funds derived from later fraudulent wine sales were used to pay obligations that arose from earlier

10 fraudulent transactions.

11            17.     According to Premier Cru, the pre-arrival wines were wines that the company had

12 supposedly already contracted to purchase from its suppliers. Premier Cru further represented that

13 it would deliver the pre-arrival wines to customers within a time period of approximately six

14 months to two years after customers had paid for the wine. These representations were false at

15 the time they were made for at least two reasons. First, Fox admitted to falsifying purchase orders

16 for wine that Premier Cru had not contracted to purchase and then entering that wine into Premier

17 Cru’s inventory records for sale to its customers. He stated that Premier Cru “priced these wines

18 at prices below the market price, knowing that [he] had not and would not need to actually pay for
19 this wine from any vendors.” Second, Fox stated that Premier Cru contracted with “foreign

20 suppliers . . . to purchase wine, generally with the promise to pay those foreign suppliers within 30

21 days.” Fox did so even where he “knew that Premier Cru would not be able to make payment

22 within 30 days, or ever” because he (a) “embezzled money from Premier Cru’s business accounts

23 that [he] should have used to pay Premier Cru’s suppliers” or (b) “diverted money coming in from

24 current customers to obtain wine for prior customers who had never received their wine.” In

25 either event, the end result was the same—Premier Cru did not have the wine required to fulfill the

26 obligations for its pre-arrival customers. Fox further admitted that “customers paid Premier Cru

27 for wine that [he] knew Premier Cru could not deliver to them and which they never received” and

28 that his false statements were made “with the intent to defraud Premier Cru’s customers.” At the

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 1 time of the bankruptcy, approximately 4,500 customers had not received pre-arrival wine for

 2 which that had already paid.

 3          18.    The fraud was unsustainable on its face because the funds Premier Cru received

 4 from its customers were less than the cost of purchasing wine at a later date to fulfill the

 5 outstanding orders. Due to the rarity of the wines at issue, purchasing wines on the open market

 6 after their release is far more costly than sourcing the wines from appropriate oversea suppliers on

 7 a pre-arrival basis. Furthermore, Premier Cru sometimes offered pre-arrivals at a price lower than

 8 the current market for pre-arrivals. This act of undercutting the market assisted in raising funds

 9 while simultaneously increasing the gap between Premier Cru’s assets and its obligations. To

10 make matters worse, Premier Cru’s Fox removed millions of dollars from the company, further

11 reducing the funds available to satisfy Premier Cru’s obligations. Because Premier Cru was not

12 generating sufficient revenue from the pre-arrival sales to ultimately purchase wine for its

13 customers, the company was forced to enter into an increasing number of fraudulent, pre-arrival

14 sales to fill the financial gap and generate the funds required to purchase wine for its existing

15 customers. As Premier Cru’s liquidity and its ability to enter into a sufficient number of new pre-

16 arrival transactions declined, Premier Cru was forced to declare bankruptcy in 2016.

17          19.    Prior to 2015, Premier Cru was able to conceal its fraud from its creditors.

18 According to Fox, his efforts to conceal the fraud included (a) offering falsified excuses and
19 promises for wine that Premier Cru would not be delivered; (b) delivering wine that was

20 purchased by other customers; and (c) purchasing wine at retail prices for use in fulfilling

21 outstanding orders. Fox admitted that he “took these and other actions to “conceal [Premier

22 Cru’s] ongoing fraud, to lull customers into a false sense that Premier Cru was a legitimate

23 business, to cause [its] customers to continue to purchase wine from Premier Cru, and to prevent

24 them from complaining to law enforcement authorities.” Furthermore, Premier Cru concealed its

25 fraud by making cash disbursements to customers whose orders were not fulfilled, often in

26 amounts greater than what customers had originally paid for their alleged pre-arrival orders.

27          20.    The sales and subsequent transfers to the Defendant were made as a part of the

28 fraud and with the actual intent to hinder, delay, or defraud Premier Cru’s creditors. Premier Cru

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 1 made the transfers and incurred the obligations with the purpose of concealing the ongoing fraud,

 2 lulling customers into a false sense that Premier Cru was a legitimate business, causing customers

 3 to continue to purchase wine from Premier Cru, and preventing customers from complaining to

 4 law enforcement authorities by paying them cash settlements.

 5      III.         Badges of Fraud Related to the Transactions with the Defendant
 6             21.       Multiple badges of fraud are present with respect to the transactions with and

 7 transfers to the Defendant, including the following:

 8                      Premier Cru was insolvent during the period of the transfers;
 9                      Premier Cru had incurred, and was continuing to incur, substantial debt while it
                         was making its payments to the Defendant;
10

11                      The true nature of the transactions with the Defendant was concealed. Premier Cru
                         made false statements indicating that it was contractually entitled to receive the pre-
12                       arrival wine from its suppliers and falsified accounting documentation to cover up
                         its fraudulent actions. Fox further admitted to making efforts to conceal the fraud
13                       through false statements to customers regarding the status of their orders. As
                         admitted by Fox, his actions were undertaken with the intent to defraud customers;
14

15                      The transfers were made while Premier Cru was under threat of potential lawsuits.
                         Had Premier Cru’s creditors discovered the fraud, Premier Cru and its principals
16                       would have been subject to numerous lawsuits. In fact, Premier Cru’s customers
                         repeatedly and regularly threatened the company with lawsuits where pre-arrival
17                       wine was not delivered, and in some instances, actually filed suit;
18                      Premier Cru removed and concealed assets. Fox admitted that, in the face of
19                       customer complaints, he caused Premier Cru to deliver wine to the complaining
                         customers that was paid for by other customers. Furthermore, Fox caused Premier
20                       Cru to transfer large sums for his personal benefit as further described in his plea
                         agreement;
21
                        Premier Cru incurred the obligations and made the transfers described herein for
22                       less than reasonably equivalent value;
23
                        As described in more detail above, the overall existence and cumulative effect of
24                       the pattern, series of transactions, and Premier Cru’s course of conduct indicate the
                         transactions with the Defendant were designed to defraud creditors. Premier Cru
25                       incurred debt and faced financial difficulties, and as a result, entered into the
                         transactions with the Defendant and other customers in order to further the fraud;
26
                        The general chronology of events and the transactions under inquiry indicate the
27
                         intent to defraud. Premier Cru entered into pre-arrival wine sales without having
28                       the underlying right to receive the wine from its suppliers. The purpose of the

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 1                    transactions was to provide liquidity to fuel the fraud and for Fox’s improper
                      diversions and embezzlement. Moreover, Premier Cru’s entry into fraudulent pre-
 2                    arrival wine sales naturally increased based upon its need to enter into more and
                      more fraudulent transactions to pay for prior obligations;
 3

 4                   Premier Cru’s conduct was both exceptional and peculiar. Such conduct included
                      falsifying accounting documentation, making false statements to customers, and
 5                    generally utilizing payments from later customers to fulfill obligations owed to
                      prior customers;
 6
                     Premier Cru made false statements, concealed facts, and operated under false
 7                    pretenses. Among other things, Premier made misrepresentations concerning the
 8                    following: (a) its financial condition; (b) its contractual relationships with suppliers
                      and its right to receive the wines in question; (c) its inventory balances; and (d) the
 9                    purported reason for delays in wine delivery;

10                   The transactions with the customers for the fraudulent wine transactions, including
                      the Defendant, were questionable and not in ordinary course for a legitimate
11                    business. Companies such as Premier Cru do not intentionally misrepresent their
12                    inventory and contractual purchases from their vendors or alter documents to
                      support sales;
13
                     Premier Cru entered into the transactions involved in the fraud under secrecy and
14                    haste, and the transactions were unusual. Premier Cru disguised its pre-arrival
                      sales using falsified documentation and misrepresentations to its customers.
15                    Furthermore, Premier Cru acted with haste in fulfilling fraudulent orders for those
16                    customers that complained repeatedly or forcefully;

17                   Premier Cru was aware of its creditors’ claims against the company and that
                      Premier Cru was incapable of paying those claims.
18
                                            CLAIMS FOR RELIEF
19
                                 Count I – Actual Intent Fraudulent Transfer
20                                     Under 11 U.S.C. § 548(a)(1)(A)
                                         (Wine and Cash Transfers)
21

22          22.       The Trustee re-alleges and fully incorporates the allegations pleaded in the

23 preceding paragraphs as if fully set forth herein.

24          23.       The Debtor presently has one or more creditors whose claim arose either before or

25 after the transfers to the Defendant.

26          24.       Premier Cru transferred at least 4,411 bottles of wine to the Defendant in the two

27 years prior to the Petition Date (the “548 Transfers”).             The 548 Transfers are more fully

28 described in Exhibit A, which is attached hereto.

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 1          25.     The 548 Transfers were made within two years of the Petition Date.

 2          26.     The aggregate amount of the 548 Transfers may be in excess of the above-stated

 3 amount, and the Trustee may amend his Complaint as and when additional transfers made as a part

 4 of the scheme are ascertained.

 5          27.     The 548 Transfers were made as a part of the fraud at Premier Cru. Premier Cru

 6 entered into the underlying wine sales in furtherance of its fraudulent scheme. Each of the

 7 transactions generated cash through the alleged “sale” of the wine to the Defendant. These sham

 8 transactions provided Premier Cru with the funds it required to satisfy already existing obligations

 9 that were part of the fraudulent scheme.        Furthermore, Premier Cru entered into additional

10 transactions with other customers at a later time that ultimately provided the company with the

11 funds necessary to purchase wine for the 548 Transfers. This pattern of conduct of using new

12 money to fund the fulfillment of earlier obligations constitutes a Ponzi scheme or similar fraud

13 whereby funds received from later fraudulent transactions were used to fund prior obligations.

14          28.     Moreover, Fox’s plea agreement evidences Premier Cru’s intent to defraud its

15 creditors through the fraudulent scheme. Therefore, the 548 Transfers were made with the actual

16 intent to hinder, delay, or defraud entities to which Premier Cru was or became indebted to on or

17 after the date of the transfer.

18          29.     As stated above, there are a multitude of badges of fraud present with respect to the
19 transactions with the Defendant. The existence and sheer number of the badges of fraud present in

20 this matter indicate that Premier Cru intended to hinder, delay, or defraud its creditors in entering

21 into and making the 548 Transfers.

22          30.     Defendant was the initial transferee of the Transfers as the Defendant received the

23 wine and funds transferred directly from Premier Cru.

24          31.     Pursuant to 11 U.S.C. §§ 548(a)(1)(A) and 550, the Trustee is entitled to judgment

25 avoiding and recovering the value of the 548 Transfers from the Defendant.

26

27

28

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  1                           Count II – Actual Intent Voidable Transfer
              Under California Civil Code § 3439.04(a)(1) et seq.; 11 U.S.C. §§ 544 and 550
  2                                   (Wine and Cash Transfers)
  3          32.     The Trustee re-alleges and fully incorporates the allegations pleaded in the
  4 preceding paragraphs as if fully set forth herein.

  5          33.     The Debtor presently has one or more creditors whose claim arose either before or
  6 after the transfers to the Defendant.

  7          34.     Premier Cru transferred the 548 Transfers to the Defendant as detailed above.
  8          35.     Premier Cru also transferred at least 84 additional bottles of wine to the Defendant
  9 during the 7 years prior to the Petition Date. (the “Additional Wine Transfers”). The Additional

 10 Wine Transfers are more fully described in Exhibit B, which is attached hereto.

 11          36.     The 548 Transfers and the Additional Wine Transfers (collectively, the “Total
 12 Transfers”) were made within seven years of the Petition Date.

 13          37.     The aggregate amount of the Total Transfers may be in excess of the above-stated
 14 amount, and the Trustee may amend his Complaint as and when additional transfers made as a part

 15 of the scheme are ascertained.

 16          38.     The Total Transfers were made as a part of the fraud at Premier Cru. Premier Cru
 17 entered into the underlying wine sales in furtherance of its fraudulent scheme. Each of the

 18 transactions generated cash through the alleged “sale” of the wine to the Defendant. These sham
 19 transactions provided Premier Cru with the funds it required to satisfy already existing obligations

 20 that were part of the fraudulent scheme.        Furthermore, Premier Cru entered into additional
 21 transactions with other customers at a later time that ultimately provided the company with the

 22 funds necessary to purchase wine for the Total Transfers. This pattern of conduct of using new

 23 money to fund the fulfillment of earlier obligations constitutes a Ponzi scheme or similar fraud

 24 whereby funds received from later fraudulent transactions were used to fund prior obligations.

 25          39.     Moreover, Fox’s plea agreement evidences Premier Cru’s intent to defraud its
 26 creditors through the fraudulent scheme. Therefore, the Total Transfers were made with the actual

 27 intent to hinder, delay, or defraud entities to which Premier Cru was or became indebted to on or

 28 after the date of the transfer.

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  1          40.     As stated above, there are a multitude of badges of fraud present with respect to the

  2 transactions with the Defendant. The existence and sheer number of the badges of fraud present in

  3 this matter indicate that Premier Cru intended to hinder, delay, or defraud its creditors in entering

  4 into and making the Total Transfers.

  5          41.     Defendant was the initial transferee of the Total Transfers as the Defendant

  6 received the wine and funds transferred directly from Premier Cru.

  7          42.     Pursuant to California Civil Code § 3439.04(a)(1) et seq. and 11 U.S.C. §§ 544 &

  8 550, the Trustee is entitled to judgment avoiding and recovering the value of the Total Transfers

  9 from the Defendant.

 10                            Count III – Actual Intent Fraudulent Transfer
                                      Under 11 U.S.C. § 548(a)(1)(A)
 11                                   (Obligations to the Defendant)
 12
             43.     The Trustee re-alleges and fully incorporates the allegations pleaded in the
 13
      preceding paragraphs as if fully set forth herein.
 14
             44.     The Debtor presently has one or more creditors whose claim arose either before or
 15
      after the transfers to the Defendant.
 16
             45.     Premier Cru entered incurred obligations to transfer at least 4,411 bottles of wine to
 17
      the Defendant in the two years prior to the Petition Date (the “548 Obligations”). The 548
 18
      Obligations are more fully described in Ex. C, which is attached hereto.
 19
             46.     The aggregate amount of the 548 Obligations may be in excess of the above-stated
 20
      amount, and the Trustee may amend his Complaint as and when additional transfers made as a part
 21
      of the scheme are ascertained.
 22
             47.     The 548 Obligations were incurred within two years of the Petition Date.
 23
             48.     The 548 Obligations were made as a part of the fraud at Premier Cru. Premier Cru
 24
      entered into the underlying wine sales in furtherance of its fraudulent scheme. Each of the
 25
      transactions generated cash through the alleged “sale” of the wine to the Defendant. These sham
 26
      transactions provided Premier Cru with the funds it required to satisfy already existing obligations
 27
      that were part of the fraudulent scheme.        Furthermore, Premier Cru entered into additional
 28

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  1 transactions with other customers at a later time that ultimately provided the company with the

  2 funds necessary to satisfy the 548 Obligations. This pattern of conduct of using new money to

  3 fund the fulfillment of earlier obligations constitutes a Ponzi scheme or similar fraud whereby

  4 funds received from later fraudulent transactions were used to fund prior obligations.

  5          49.     Moreover, Fox’s plea agreement evidences Premier Cru’s intent to defraud its

  6 creditors through the fraudulent scheme. Therefore, the 548 Obligations were incurred with the

  7 actual intent to hinder, delay, or defraud entities to which Premier Cru was or became indebted to

  8 on or after the date of the transfer.

  9          50.     As stated above, there are a multitude of badges of fraud present with respect to the

 10 transactions with the Defendant. The existence and sheer number of the badges of fraud present in

 11 this matter indicate that Premier Cru intended to hinder, delay, or defraud its creditors in entering

 12 into the sales and incurring the 548 Obligations.

 13          51.     Pursuant to 11 U.S.C. §§ 548(a)(1)(A), the Trustee is entitled to judgment avoiding

 14 the 548 Obligations.

 15                               Count IV – Actual Intent Voidable Transfer
                   Under California Civil Code § 3439.04(a)(1) et seq.; 11 U.S.C. §§ 544 and 550
 16                                        (Obligations to Defendant)
 17          52.     The Trustee re-alleges and fully incorporates the allegations pleaded in the
 18 preceding paragraphs as if fully set forth herein.
 19          53.     The Debtor presently has one or more creditors whose claim arose either before or
 20 after the transfers to the Defendant.

 21          54.     Premier Cru incurred the 548 Obligations as detailed above.
 22          55.     Premier Cru also incurred obligations to the Defendant relating to 84 bottles of
 23 wine during the seven years prior to the Petition Date (the “Additional Obligations”). The

 24 Additional Obligations are more fully described in Exhibit D, which is attached hereto.

 25          56.     The 548 Obligations and the Additional Obligations (collectively, the “Total
 26 Obligations”) were incurred within seven years of the Petition Date.

 27

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  1          57.     The aggregate amount of the Total Obligations may be in excess of the above-

  2 stated amount, and the Trustee may amend his Complaint as and when additional transfers made

  3 as a part of the scheme are ascertained.

  4          58.     The Total Obligations were incurred as a part of the fraud at Premier Cru. Premier

  5 Cru entered into the underlying wine sales in furtherance of its fraudulent scheme. Each of the

  6 transactions generated cash through the alleged “sale” of the wine to the Defendant. These sham

  7 transactions provided Premier Cru with the funds it required to satisfy already existing obligations

  8 that were part of the fraudulent scheme.          Furthermore, Premier Cru entered into additional

  9 transactions with other customers at a later time that ultimately provided the company with the

 10 funds necessary to satisfy the Total Obligations. This pattern of conduct of using new money to

 11 fund the fulfillment of earlier obligations constitutes a Ponzi scheme or similar fraud whereby

 12 funds received from later fraudulent transactions were used to fund prior obligations.

 13          59.     Moreover, Fox’s plea agreement evidences Premier Cru’s intent to defraud its

 14 creditors through the fraudulent scheme. Therefore, the Total Obligations were incurred with the

 15 actual intent to hinder, delay, or defraud entities to which Premier Cru was or became indebted to

 16 on or after the date of the transfer.

 17          60.     As stated above, there are a multitude of badges of fraud present with respect to the

 18 transactions with the Defendant. The existence and sheer number of the badges of fraud present in
 19 this matter indicate that Premier Cru intended to hinder, delay, or defraud its creditors in entering

 20 into the sales and incurring the Total Obligations.

 21          61.     Pursuant to California Civil Code § 3439.04(a)(1) et seq. and 11 U.S.C. §§ 544, the

 22 Trustee is entitled to judgment avoiding the Total Obligations.

 23                             Count V – Constructive Fraudulent Transfer
                                      Under 11 U.S.C. § 548(a)(1)(B)
 24                                     (Wine and Cash Transfers)
 25
             62.     The Trustee re-alleges and fully incorporates the allegations pleaded in the
 26
      preceding paragraphs as if fully set forth herein.
 27

 28

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                                               27
  1          63.     The Debtor presently has one or more creditors whose claim arose either before or

  2 after the transfers to the Defendant.

  3          64.     Premier Cru made the 548 Transfers to the Defendant.

  4          65.     The aggregate amount of the 548 Transfers may be in excess of the above-stated

  5 amount, and the Trustee may amend his Complaint as and when additional transfers made as a part

  6 of the scheme are ascertained.

  7          66.     Premier Cru received less than reasonably equivalent value in exchange for the 548

  8 Transfers.

  9          67.     The 548 Transfers were made at a time when Premier Cru (a) was insolvent; (b)

 10 was engaged in business or a transaction, or was about to engage in business or a transaction, for

 11 which any property remaining with the debtor was an unreasonably small capital; or (b) intended

 12 to incur, or believed that it would incur, debts that would be beyond its ability to pay as such debts

 13 matured.

 14          68.     Defendant was the initial transferee of the 548 Transfers as the Defendant received

 15 the wine and funds transferred directly from Premier Cru.

 16          69.     Pursuant to 11 U.S.C. §§ 548(a)(1)(B) and 550, the Trustee is entitled to judgment

 17 avoiding and recovering the value of the 548 Transfers from the Defendant.

 18                               Count VI – Constructive Voidable Transfer
                   Under California Civil Code § 3439.04(a)(2) et seq.; 11 U.S.C. §§ 544 and 550
 19                                        (Wine and Cash Transfers)
 20
             70.     The Trustee re-alleges and fully incorporates the allegations pleaded in the
 21
      preceding paragraphs as if fully set forth herein.
 22
             71.     The Debtor presently has one or more creditors whose claim arose either before or
 23
      after the transfers to the Defendant.
 24
             72.     Premier Cru made the Total Transfers to the Defendant.
 25
             73.     The aggregate amount of the Total Transfers may be in excess of the above-stated
 26
      amount, and the Trustee may amend his Complaint as and when additional transfers made as a part
 27
      of the scheme are ascertained.
 28

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  1          74.     Premier Cru received less than reasonably equivalent value in exchange for the

  2 Total Transfers.

  3          75.     The Total Transfers were made at a time when Premier Cru (a) was insolvent

  4 and/or was engaged or was about to engage in a business or a transaction for which the remaining

  5 assets of the debtor were unreasonably small in relation to the business or transaction; or (b)

  6 intended to incur, or believed or reasonably should have believed that it would incur, debts beyond

  7 its ability to pay as they became due.

  8          76.     Defendant was the initial transferee of the Total Transfers as the Defendant

  9 received the wine and funds transferred directly from Premier Cru.

 10          77.     Pursuant to California Civil Code § 3439.04(a)(2) et seq. and 11 U.S.C. §§ 544 and

 11 550, the Trustee is entitled to judgment avoiding and recovering the value of the Total Transfers

 12 from the Defendant.

 13                            Count VII – Constructive Fraudulent Transfer
                                      Under 11 U.S.C. § 548(a)(1)(B)
 14                                     (Obligations to Defendant)
 15
             78.     The Trustee re-alleges and fully incorporates the allegations pleaded in the
 16
      preceding paragraphs as if fully set forth herein.
 17
             79.     The Debtor presently has one or more creditors whose claim arose either before or
 18
      after the transfers to the Defendant.
 19
             80.     Premier Cru incurred the 548 Obligations.
 20
             81.     The aggregate amount of the 548 Obligations may be in excess of the above-stated
 21
      amount, and the Trustee may amend his Complaint as and when additional transfers made as a part
 22
      of the scheme are ascertained.
 23
             82.     Premier Cru received less than reasonably equivalent value in exchange for the 548
 24
      Obligations.
 25
             83.     The 548 Obligations were incurred at a time when Premier Cru (a) was insolvent;
 26
      (b) was engaged in business or a transaction, or was about to engage in business or a transaction,
 27
      for which any property remaining with the debtor was an unreasonably small capital; or (b)
 28

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  1 intended to incur, or believed that it would incur, debts that would be beyond its ability to pay as

  2 such debts matured.

  3          84.       Pursuant to 11 U.S.C. §§ 548(a)(1)(B), the Trustee is entitled to judgment avoiding

  4 the 548 Obligations.

  5                             Count VIII – Constructive Fraudulent Transfer
                   Under California Civil Code § 3439.04(a)(2) et seq.; 11 U.S.C. §§ 544 and 550
  6                                        (Obligations to Defendant)
  7
             85.       The Trustee re-alleges and fully incorporates the allegations pleaded in the
  8
      preceding paragraphs as if fully set forth herein.
  9
             86.       The Debtor presently has one or more creditors whose claim arose either before or
 10
      after the transfers to the Defendant.
 11
             87.       Premier Cru incurred the Total Obligations.
 12
             88.       The aggregate amount of the Total Obligations may be in excess of the above-
 13
      stated amount, and the Trustee may amend his Complaint as and when additional transfers made
 14
      as a part of the scheme are ascertained.
 15
             89.       Premier Cru received less than reasonably equivalent value in exchange for the
 16
      Total Obligations.
 17
             90.       The Total Obligations were incurred at a time when Premier Cru (a) was insolvent
 18
      and/or was engaged or was about to engage in a business or a transaction for which the remaining
 19
      assets of the debtor were unreasonably small in relation to the business or transaction; or (b)
 20
      intended to incur, or believed or reasonably should have believed that it would incur, debts beyond
 21
      its ability to pay as they became due.
 22
             91.       Pursuant to California Civil Code § 3439.04(a)(2) et seq. and 11 U.S.C. § 544, the
 23
      Trustee is entitled to judgment avoiding the value of the Total Obligations from the Defendant.
 24
                                                    PRAYER
 25
             Wherefore, the Trustee respectfully requests that the Court enter judgment and grant the
 26
      following relief against the Defendant:
 27
                      Entering an order of judgment avoiding the Total Obligations and Total Transfers
 28                    under 11 U.S.C. § 544 and California Civil Code 3439.04(a)(1);

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  1              Entering an order of judgment avoiding the Total Obligations and Total Transfers
                  to the Defendant under 11 U.S.C. § 544 and California Civil Code 3439.04(a)(2);
  2
                 Entering an order of judgment avoiding the 548 Obligations and 548 Transfers to
  3
                  the Defendant under 11 U.S.C. § 548(a)(1)(A);
  4
                 Entering an order of judgment avoiding the 548 Obligations and 548 Transfers to
  5               the Defendant under 11 U.S.C. § 548(a)(1)(B);

  6              Entering an order permitting the Trustee to recover the value of the avoided
                  transfers in an amount to be proven at trial;
  7

  8              Prejudgment and post-judgment interest as allowed by law; and

  9              All other relief to which the Trustee is entitled.

 10

 11
           Dated: January 5, 2018                        DIAMOND MCCARTHY LLP
 12
                                                         By: /s/ Kathy Bazoian Phelps
 13                                                      KATHY BAZOIAN PHELPS
                                                         Attorneys for Michael Kasolas, Chapter 7
 14                                                      Trustee for Fox Ortega Enterprises, Inc.
 15                                                      dba Premier Cru

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                                                          Exhibit A

                                                        548 Transfers
                                                                          Qty
ShipDate        SalesOrder     Description                              Shipped       Unit Value        Total Value
  5/13/2014 SO-0000444624      2010 Pape Clement                          60      $       213.68 $        12,820.80
  5/13/2014 SO-0000444624      2010 Troplong Mondot                      120      $       131.41 $        15,769.20
  5/13/2014 SO-0000444624      2010 Montrose                              60      $       193.65 $        11,618.85
  5/13/2014 SO-0000444624      2010 Lynch Bages                           60      $       133.55 $         8,013.00
  5/30/2014 SO-0000445345      2010 La Mission Haut Brion                 60      $       821.33 $        49,279.80
  5/30/2014 SO-0000445345      2010 Lafite Rothschild                     39      $      1,535.82 $       59,896.98
  5/30/2014 SO-0000445345      2010 Pontet Canet                         120      $       216.35 $        25,962.00
  5/30/2014 SO-0000445434      2010 La Mission Haut Brion                 24      $       821.33 $        19,711.92
  5/30/2014 SO-0000445434      09 La Mission Haut Brion                   24      $       721.17 $        17,308.08
  5/30/2014 SO-0000445345      09 Pavie                                   36      $       267.10 $         9,615.60
  5/30/2014 SO-0000445434      2010 Pontet Canet                          48      $       216.35 $        10,384.80
  5/30/2014 SO-0000445434      2010 Cos d'Estournel                       36      $       247.07 $         8,894.52
  5/30/2014 SO-0000445434      2010 Leoville Poyferre                     48      $       113.52 $         5,448.96
  5/30/2014 SO-0000445434      09 Smith Haut Lafitte Rouge                36      $         85.47 $        3,076.92
  5/30/2014 SO-0000445434      2010 Montrose                              12      $       193.65 $         2,323.77
  6/18/2014 SO-0000444981      2010 Pontet Canet                          60      $       216.35 $        12,981.00
  6/18/2014 SO-0000446417      2010 Pichon Lalande                        60      $       173.61 $        10,416.60
  6/18/2014 SO-0000446417      2010 Latour                                 6      $      1,702.76 $       10,216.56
  6/18/2014 SO-0000444981      09 Pavie                                   36      $       267.10 $         9,615.60
  6/18/2014 SO-0000444981      2010 Pape Clement                          60      $       213.68 $        12,820.80
  6/18/2014 SO-0000446497      2010 Beausejour Duffau                     24      $       387.29 $         9,294.96
  6/18/2014 SO-0000445345      2010 Lafite Rothschild                      9      $      1,535.82 $       13,822.38
  6/18/2014 SO-0000447626      2010 Ducru Beaucaillou                     36      $       200.32 $         7,211.52
  6/18/2014 SO-0000446417      2010 Leoville Poyferre                     60      $       113.52 $         6,811.20
  6/18/2014   SO-0000447626    09 Bellevue Mondot                         24      $       288.47    $      6,923.28
  6/18/2014   SO-0000446417    2010 Troplong Mondot                       36      $       131.41    $      4,730.76
  6/24/2014   SO-0000447717    2010 Ducru Beaucaillou                     24      $       200.32    $      4,807.68
  6/24/2014   SO-0000447717    2010 Haut Bailly                           24      $       118.86    $      2,852.63
  6/24/2014   SO-0000447717    2010 Clos Fourtet                          24      $       120.19    $      2,884.56
  6/26/2014   SO-0000448649    2010 Haut Brion                            60      $       881.43    $     52,885.80
  6/26/2014   SO-0000446417    2010 Mouton Rothschild                     5       $       974.91    $      4,874.55
  8/11/2014   SO-0000448621    09 Smith Haut Lafitte Rouge                48      $        85.47    $      4,102.56
  8/11/2014   SO-0000448621    2010 Smith Haut Lafitte                    48      $       102.83    $      4,935.84
  8/11/2014   SO-0000448621    2011 Clos de la Roche V.V., Ponsot         12      $       395.00    $      4,740.00
  6/25/2015   SO-0000446417    2010 Mouton Rothschild                     31      $       988.27    $     30,636.37
  6/25/2015   SO-0000447717    2010 Mouton Rothschild                     12      $       988.27    $     11,859.24
  6/26/2015   SO-0000446497    2010 Beausejour Duffau                     12      $       335.00    $      4,020.00
 10/31/2015   SO-0000492674    09 Haut Brion                              24      $       834.69    $     20,032.56
 10/31/2015   SO-0000492674    01 d'Yquem 1/2                             48      $       313.06    $     15,026.88
 10/31/2015   SO-0000492674    09 La Conseillante                         24      $       207.00    $      4,968.00
 10/31/2015   SO-0000492674    2010 Le Dome                               36      $       120.19    $      4,326.84
 10/31/2015   SO-0000492674    2010 Leoville Poyferre                     24      $       126.87    $      3,044.88



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10/31/2015   SO-0000492674   09 Haut Bailly                          24   $     125.54   $    3,012.96
10/31/2015   SO-0000492674   2010 Smith Haut Lafitte                 24   $     102.83   $    2,467.92
 11/4/2015   SO-0000493715   09 Haut Brion                           12   $     834.69   $   10,016.28
 11/4/2015   SO-0000493715   05 Margaux Magnum                       6    $   1,500.00   $    9,000.00
 11/4/2015   SO-0000493715   2012 Musigny V.V., Vogue                12   $     300.00   $    3,600.00
 11/4/2015   SO-0000493715   09 Ducru Beaucaillou                    24   $     220.36   $    5,288.64
 11/4/2015   SO-0000493715   09 La Conseillante                      24   $     207.00   $    4,968.00
 11/4/2015   SO-0000493715   09 Leoville las Cases Magnum            6    $     576.94   $    3,461.64
 11/4/2015   SO-0000493715   02 Dom Perignon                         24   $     109.51   $    2,628.24
 11/4/2015   SO-0000493715   2010 Leoville Poyferre                  24   $     126.87   $    3,044.88
 11/4/2015   SO-0000493715   2010 Le Dome                            24   $     120.19   $    2,884.56
 11/4/2015   SO-0000493715   2010 Haut Bailly                        24   $     118.86   $    2,852.64
 11/4/2015   SO-0000493715   2010 Troplong Mondot                    24   $     110.00   $    2,640.00
 11/4/2015   SO-0000493715   2010 Clos Fourtet                       24   $      96.16   $    2,307.84
 11/4/2015   SO-0000493715   09 Smith Haut Lafitte Rouge             24   $      82.80   $    1,987.20
 11/4/2015   SO-0000493715   09 Haut Bailly                          12   $     125.54   $    1,506.48
 11/4/2015   SO-0000493715   2010 Smith Haut Lafitte                 12   $     102.83   $    1,233.96
11/20/2015   SO-0000494399   09 Haut Brion                           12   $     834.69   $   10,016.28
11/20/2015   SO-0000494399   2000 La Mission Haut Brion              12   $     615.00   $    7,380.00
11/20/2015   SO-0000494752   2000 La Mission Haut Brion              12   $     615.00   $    7,380.00
11/20/2015   SO-0000494399   03 Lafite Magnum                        3    $   2,290.42   $    6,871.26
11/20/2015   SO-0000494399   04 Lafite Rothschild                    12   $     561.46   $    6,737.52
11/20/2015   SO-0000494399   04 Latour Magnum                        6    $     857.50   $    5,145.00
11/20/2015   SO-0000494399   08 Latour 3 Liter                       3    $   1,469.05   $    4,407.15
11/20/2015   SO-0000494399   2000 Pavie                              12   $     360.00   $    4,320.00
11/20/2015   SO-0000494399   86 d'Yquem                              12   $     300.00   $    3,600.00
11/20/2015   SO-0000494399   09 Bellevue Mondot                      12   $     288.47   $    3,461.64
11/20/2015   SO-0000494399   05 Pape Clement                         24   $     153.13   $    3,675.12
11/20/2015   SO-0000494399   02 Clos de Tart                         12   $     260.00   $    3,120.00
11/20/2015   SO-0000494752   2010 Leoville Poyferre                  24   $     126.87   $    3,044.88
11/20/2015   SO-0000494399   2010 Leoville Poyferre                  24   $     126.87   $    3,044.88
11/20/2015   SO-0000494399   05 Clos des Lambrays                    12   $     120.00   $    1,440.00
11/20/2015   SO-0000494752   2010 Le Dome                            24   $     120.19   $    2,884.56
11/20/2015   SO-0000494752   2010 Haut Bailly                        24   $     118.86   $    2,852.64
11/20/2015   SO-0000494399   2010 Rauzan Segla                       24   $     118.86   $    2,852.64
11/20/2015   SO-0000494399   2010 Smith Haut Lafitte                 24   $     102.83   $    2,467.92
11/20/2015   SO-0000494752   2010 Clos Fourtet                       24   $      96.16   $    2,307.84
11/20/2015   SO-0000494752   2010 Les Asteries                       24   $      86.81   $    2,083.44
11/20/2015   SO-0000494752   09 Haut Bailly                          12   $     125.54   $    1,506.48
11/20/2015   SO-0000494399   2010 Troplong Mondot                    12   $     110.00   $    1,320.00
11/20/2015   SO-0000494399   2010 Smith Haut Lafitte                 12   $     102.83   $    1,233.96
11/20/2015   SO-0000494752   2010 Smith Haut Lafitte                 12   $     102.83   $    1,233.96
11/20/2015   SO-0000494399   05 Montrose                             12   $     122.50   $    1,470.00
11/20/2015   SO-0000494399   2010 Clos Fourtet                       12   $      96.16   $    1,153.92
11/20/2015   SO-0000494399   03 Leoville Poyferre                    12   $     110.00   $    1,320.00
 12/3/2015   SO-0000495582   01 Musigny VV, Vogue                    12   $     423.00   $    5,076.00
 12/3/2015   SO-0000495582   2012 Screaming Eagle                    3    $   1,600.00   $    4,800.00
 12/3/2015   SO-0000495582   2010 Haut Bailly                        24   $     118.86   $    2,852.64



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 12/3/2015   SO-0000495582   06 Richebourg, Leroy                       1    $     694.46 $      694.46
 12/3/2015   SO-0000495582   06 Clos de la Roche, Leroy                 1    $     691.72 $      691.72
 12/9/2015   SO-0000495663   09 La Mission Haut Brion                   12   $     921.49 $   11,057.88
 12/9/2015   SO-0000495663   05 Chateauneuf Clos des Papes, Avril       60   $      95.76 $    5,745.60
 12/9/2015   SO-0000495663   89 Clinet                                  12   $     453.75 $    5,445.00
 12/9/2015   SO-0000495663   05 Hosanna                                 36   $     153.13 $    5,512.68
 12/9/2015   SO-0000495663   07 Barolo Ciabot Mentin, Clerico           60   $      72.12 $    4,327.20
 12/9/2015   SO-0000495663   2011 Screaming Eagle                       4    $   1,200.00 $    4,800.00
 12/9/2015   SO-0000495663   82 La Mission Haut Brion                   4    $     640.00 $    2,560.00
 12/9/2015   SO-0000495663   07 Tignanello, Antinori                    36   $      73.45 $    2,644.20
 12/9/2015   SO-0000495663   2010 Volnay Fremiets, Boillot              48   $      48.08 $    2,307.84
 12/9/2015   SO-0000495663   99 Cristal                                 12   $     175.00 $    2,100.00
12/17/2015   SO-0000495785   07 Musigny, Leroy                          6    $   3,338.75 $   20,032.50
12/17/2015   SO-0000495785   07 Clos de Beze, Rousseau                  12   $     961.39 $   11,536.68
12/17/2015   SO-0000495785   2010 Clos Fourtet                          72   $      96.16 $    6,923.52
12/17/2015   SO-0000495808   09 Ermitage Meal Rouge Magnu, Chapoutier   12   $     499.00 $    5,988.00
12/17/2015   SO-0000495785   2010 Leoville Poyferre                     36   $     126.87 $    4,567.32
12/17/2015   SO-0000495785   2010 Chateauneuf Cuvee Impe, R. Usseglio   60   $      76.12 $    4,567.20
12/17/2015   SO-0000495785   03 Clos de la Roche V.V. Magnum, Ponsot    6    $     714.58 $    4,287.48
12/17/2015   SO-0000495808   08 Clos de la Roche V.V, Ponsot            24   $     154.92 $    3,718.08
12/17/2015   SO-0000495808   07 Assorted Case, Ponsot                   2    $   1,625.04 $    3,250.08
12/17/2015   SO-0000495808   07 Beaucastel                              36   $      60.00 $    2,160.00
12/17/2015   SO-0000495785   09 La Conseillante                         12   $     207.00 $    2,484.00
12/17/2015   SO-0000495785   09 Le Plus La Fleur de Bouard              24   $     113.52 $    2,724.48
12/17/2015   SO-0000495785   09 Suduiraut                               36   $      72.12 $    2,596.32
12/17/2015   SO-0000495785   2010 Branaire Ducru                        36   $      65.44 $    2,355.84
12/17/2015   SO-0000495785   2010 Le Carre                              36   $      60.10 $    2,163.60
12/17/2015   SO-0000495808   2010 Beaucastel                            36   $      66.11 $    2,379.96
12/17/2015   SO-0000495785   2010 Bon Pasteur                           36   $      59.30 $    2,134.80
12/17/2015   SO-0000495785   2010 d'Issan                               24   $      65.44 $    1,570.56
12/17/2015   SO-0000495808   2010 Gigondas Hautes Garrigues, Santa Du   36   $      43.40 $    1,562.40
12/17/2015   SO-0000495785   09 Haut Bailly                             12   $     125.54 $    1,506.48
12/17/2015   SO-0000495785   2010 Cantemerle                            36   $      32.05 $    1,153.80
12/21/2015   SO-0000495842   2010 Chambertin, Rousseau                  6    $   1,200.00 $    7,200.00
12/21/2015   SO-0000495842   05 Clos des Lambrays                       24   $     120.00 $    2,880.00
12/21/2015   SO-0000495842   05 Romanee St Vivant, DRC                  4    $   1,200.00 $    4,800.00
12/21/2015   SO-0000495842   99 Dom Perignon                            24   $     110.92 $    2,662.08
12/21/2015   SO-0000495842   2010 Musigny, Mugnier                      3    $   1,268.72 $    3,806.16
12/21/2015   SO-0000495842   2012 Bonnes Mares, Roumier                 3    $     750.00 $    2,250.00
12/21/2015   SO-0000495842   2000 Pichon Lalande                        12   $     224.58 $    2,694.96
12/21/2015   SO-0000495842   09 Chateauneuf Reservee, Pegau             36   $      60.10 $    2,163.60
12/21/2015   SO-0000495842   2010 Gigondas Hautes Garrigues, Santa Du   36   $      43.40 $    1,562.40
12/21/2015   SO-0000495842   2010 Dames de Montrose                     36   $      40.06 $    1,442.16
12/21/2015   SO-0000495842   85 Salon                                   3    $    550.00 $     1,650.00
12/21/2015   SO-0000495842   2011 Taylor                                36   $     57.00 $     2,052.00
12/21/2015   SO-0000495842   2012 Musigny, Roumier                      1    $   6,100.00 $    6,100.00
12/28/2015   SO-0000495842   02 Lafite Rothschild                       12   $     440.00 $    5,280.00
12/28/2015   SO-0000495842   04 Latour                                  12   $     428.75 $    5,145.00



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12/28/2015   SO-0000495842   09 Suduiraut                                 48    $    72.12   $   3,461.76
12/28/2015   SO-0000495842   2010 Les Asteries                            36    $    86.81   $   3,125.16
12/28/2015   SO-0000495842   2010 Chateauneuf Cuvee Impe, R. Usseglio     36    $    76.12   $   2,740.32
12/28/2015   SO-0000495842   07 Musigny V.V., Vogue                       6     $   408.33   $   2,449.98
12/28/2015   SO-0000495842   07 Barolo Pajana, Clerico                    36    $    66.11   $   2,379.96
12/28/2015   SO-0000495842   03 Leoville Poyferre                         12    $   110.00   $   1,320.00
12/28/2015   SO-0000495842   09 Cantenac Brown                            24    $    53.42   $   1,282.08
12/28/2015   SO-0000495842   77 Taylor                                    12    $   100.27   $   1,203.24
12/28/2015   SO-0000495842   2010 Cantemerle                              36    $    32.05   $   1,153.80
12/28/2015   SO-0000495842   02 Pol Roger Blanc de Blancs                 24    $   35.00    $     840.00
12/28/2015   SO-0000495842   2011 Fonseca                                 36    $   63.00    $   2,268.00
12/28/2015   SO-0000495842   2011 Fonseca 1/2                             48    $   31.00    $   1,488.00
12/28/2015   SO-0000495842   2011 Taylor 1/2                              48    $   29.00    $   1,392.00
12/28/2015   SO-0000495842   2011 Graham                                  24    $   55.00    $   1,320.00
12/28/2015   SO-0000495842   2011 Dow 1/2                                 48    $   55.00    $   2,640.00
12/30/2015   SO-0000495889   2012 Chateauneuf Reservee, Pegau            120    $    50.00   $   6,000.00
12/30/2015   SO-0000495889   2010 Solaia, Antinori                        24    $   166.94   $   4,006.56
12/30/2015   SO-0000495889   2000 Taittinger Comtes Champagne Blanc       36    $    90.81   $   3,269.16
12/30/2015   SO-0000495889   09 Cornas, Clape                             12    $   126.87   $   1,522.44
  1/5/2016   SO-000495915    97 Cheval Blanc                              7     $   350.00   $   2,450.00
  1/5/2016   SO-000495915    03 Carruades de Lafite                       2     $   200.00   $     400.00
  1/5/2016   SO-000495915    03 Forts de Latour                           6     $   230.00   $   1,380.00
  1/5/2016   SO-000495915    05 Chateauneuf Combe des , Clos St Jean      4     $   100.00   $     400.00
  1/5/2016   SO-000495915    05 Clos Fourtet                              12    $   210.00   $   2,520.00
  1/5/2016   SO-000495915    05 Clos l'Eglise (Pomerol)                   6     $   170.00   $   1,020.00
  1/5/2016   SO-000495915    05 Hermitage Ex Voto, Guigal                 3     $   370.00   $   1,110.00
  1/5/2016   SO-000495915    05 Marojallia                                16    $   125.00   $   2,000.00
  1/5/2016   SO-000495915    06 Brunello di Montalcino, Pacenti           12    $    60.00   $     720.00
  1/5/2016   SO-000495915    07 Hermitage Rouge Ex Voto, Guigal           6     $   380.00   $   2,280.00
  1/5/2016   SO-000495915    07 Brunello di Montalcino, Pacenti           12    $    60.00   $     720.00
  1/5/2016   SO-000495915    07 Chateauneuf du Pape, Charvin              12    $    95.00   $   1,140.00
  1/5/2016   SO-000495915    07 Chateauneuf V.V., Janasse                 18    $   280.00   $   5,040.00
  1/5/2016   SO-000495915    07 Corton Charlemagne, Boillot               9     $   210.00   $   1,890.00
  1/5/2016   SO-000495915    08 Ducru 3 Liter                             2     $   360.00   $     720.00
  1/5/2016   SO-000495915    08 Hosanna                                   12    $   180.00   $   2,160.00
  1/5/2016   SO-000495915    08 Troplong Mondot Magnum                    5     $   240.00   $   1,200.00
  1/5/2016   SO-000495915    09 Clos de Tart                              2     $   450.00   $     900.00
  1/5/2016   SO-000495915    09 Clos Vougeot, Prieur                      3     $   180.00   $     540.00
  1/5/2016   SO-000495915    09 Volnay Taillepieds, Bouchard              12    $    65.00   $     780.00
  1/5/2016   SO-000495915    2010 Chateauneuf Combes de, Clos St Jean     2     $   110.00   $     220.00
  1/5/2016   SO-000495915    2010 Chateauneuf Deux Frere, P. Usseglio     11    $   190.00   $   2,090.00
  1/5/2016   SO-000495915    2011 Clos Vougeot, Faiveley                  5     $   170.00   $     850.00
  1/5/2016   SO-000495915    2012 Chateauneuf Reservee Magnum, Pegau      9     $   160.00   $   1,440.00
                                                                        4,411                $ 981,999.72




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                                             Exhibit B

                                   Additional Wine Transfers
ShipDate      SalesOrder    Description                     Qty Shipped   Unit Value   Total Value
  10/6/2009 SO-0000325412   82 Lafite                            2        $ 2,200.00 $    4,400.00
  11/4/2009 SO-0000326873   82 Lafite                            2        $ 2,200.00 $    4,400.00
 11/12/2009 SO-0000327408   85 Margaux                           5        $   300.00 $    1,500.00
 11/30/2009 SO-0000329017   82 Grange Hermitage                  2        $   289.67 $      579.33
 11/30/2009 SO-0000329017   86 Grange Hermitage                  2        $   200.00 $      400.00
 11/30/2009 SO-0000329019   87 Dunn Howell Cab                   4        $   100.00 $      400.00
   2/8/2010 SO-0000332770   82 Lafite                            3        $ 2,200.00 $    6,600.00
  6/15/2010 SO-0000338463   82 Lafite (BN - corroded cap)        1        $ 2,050.00 $    2,050.00
  5/20/2011 SO-0000356205   89 Haut Brion                        1        $ 1,200.00 $    1,200.00
  9/19/2011 SO-0000362963   2000 Mouton Magnum                   2        $ 1,700.00 $    3,400.00
  2/12/2012 SO-0000373497   08 Latour A Pomerol                 60        $    69.00 $    4,140.00
                                                                84                     $ 29,069.33




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                                                    Exhibit C

                                                548 Obligations
                Sales Order
Sales Order        Date     Description                            Quantity   Unit Price       Total Price
SO-0000444624    5/10/2014   2010 Pape Clement                       60       $   145.00   $      8,700.00
SO-0000444624    5/10/2014   2010 Troplong Mondot                    120      $   100.00   $     12,000.00
SO-0000444624    5/10/2014   2010 Montrose                           60       $   145.00   $      8,700.00
SO-0000444624    5/10/2014   2010 Lynch Bages                        60       $   120.00   $      7,200.00
SO-0000444981    5/15/2014   2010 Pontet Canet                       60       $   145.00   $      8,700.00
SO-0000444981    5/15/2014   09 Pavie                                36       $   225.00   $      8,100.00
SO-0000444981    5/15/2014   2010 Pape Clement                       60       $   145.00   $      8,700.00
SO-0000445345    5/20/2014   2010 La Mission Haut Brion              60       $   399.99   $     23,999.40
SO-0000445345    5/20/2014   2010 Lafite Rothschild                  39       $   699.99   $     27,299.61
SO-0000445345    5/20/2014   2010 Pontet Canet                       120      $   145.00   $     17,400.00
SO-0000445345    5/20/2014   09 Pavie                                36       $   225.00   $      8,100.00
SO-0000445345    5/20/2014   2010 Lafite Rothschild                   9       $   699.99   $      6,299.91
SO-0000445434    5/22/2014   2010 La Mission Haut Brion              24       $   399.99   $      9,599.76
SO-0000445434    5/22/2014   09 La Mission Haut Brion                24       $   499.99   $     11,999.76
SO-0000445434    5/22/2014   2010 Pontet Canet                       48       $   145.00   $      6,960.00
SO-0000445434    5/22/2014   2010 Cos d'Estournel                    36       $   159.99   $      5,759.64
SO-0000445434    5/22/2014   2010 Leoville Poyferre                  48       $   100.00   $      4,800.00
SO-0000445434    5/22/2014   09 Smith Haut Lafitte Rouge             36       $   149.99   $      5,399.64
SO-0000445434    5/22/2014   2010 Montrose                           12       $   145.00   $      1,740.00
SO-0000446417     6/3/2014   2010 Mouton Rothschild                  31       $   499.99   $     15,499.69
SO-0000446417     6/3/2014   2010 Pichon Lalande                     60       $   125.00   $      7,500.00
SO-0000446417     6/3/2014   2010 Latour                              6       $   899.99   $      5,399.94
SO-0000446417     6/3/2014   2010 Leoville Poyferre                  60       $   100.00   $      6,000.00
SO-0000446417     6/3/2014   2010 Troplong Mondot                    36       $   110.00   $      3,960.00
SO-0000446417     6/3/2014   2010 Mouton Rothschild                   5       $   499.99   $      2,499.95
SO-0000446497     6/4/2014   2010 Beausejour Duffau                  24       $   200.00   $      4,800.00
SO-0000446497     6/4/2014   2010 Beausejour Duffau                  12       $   200.00   $      2,400.00
SO-0000447626    6/16/2014   2010 Ducru Beaucaillou                  36       $   152.49   $      5,489.64
SO-0000447626    6/16/2014   09 Bellevue Mondot                      24       $   202.50   $      4,860.00
SO-0000447717    6/18/2014   2010 Mouton Rothschild                  12       $   502.49   $      6,029.88
SO-0000447717    6/18/2014   2010 Ducru Beaucaillou                  24       $   152.49   $      3,659.76
SO-0000447717    6/18/2014   2010 Haut Bailly                        24       $   102.50   $      2,460.00
SO-0000447717    6/18/2014   2010 Clos Fourtet                       24       $   112.50   $      2,700.00
SO-0000448621    6/30/2014   09 Smith Haut Lafitte Rouge             48       $   152.49   $      7,319.52
SO-0000448621    6/30/2014   2010 Smith Haut Lafitte                 48       $    77.50   $      3,720.00
SO-0000448621    6/30/2014   2011 Clos de la Roche V.V., Ponsot      12       $   327.50   $      3,930.00
SO-0000448649     7/1/2014   2010 Haut Brion                         60       $   602.49   $     36,149.40
SO-0000492674   10/21/2015   09 Haut Brion                           24       $   541.67   $     13,000.08
SO-0000492674   10/21/2015   01 d'Yquem 1/2                          48       $   158.33   $      7,599.84
SO-0000492674   10/21/2015   09 La Conseillante                      24       $   125.00   $      3,000.00
SO-0000492674   10/21/2015   2010 Le Dome                            36       $   141.67   $      5,100.12



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SO-0000492674   10/21/2015   2010 Leoville Poyferre                 24    $ 100.00 $     2,400.00
SO-0000492674   10/21/2015   09 Haut Bailly                         24    $ 133.33 $     3,199.92
SO-0000492674   10/21/2015   2010 Smith Haut Lafitte                24    $ 100.00 $     2,400.00
SO-0000493715    11/3/2015   09 Haut Brion                          12    $ 541.67 $     6,500.04
SO-0000493715    11/3/2015   05 Margaux Magnum                      6     $ 1,000.00 $   6,000.00
SO-0000493715    11/3/2015   2012 Musigny V.V., Vogue               12    $ 375.00 $     4,500.00
SO-0000493715    11/3/2015   09 Ducru Beaucaillou                   24    $ 158.33 $     3,799.92
SO-0000493715    11/3/2015   09 La Conseillante                     24    $ 133.33 $     3,199.92
SO-0000493715    11/3/2015   09 Leoville las Cases Magnum           6     $ 333.33 $     1,999.98
SO-0000493715    11/3/2015   02 Dom Perignon                        24    $ 116.67 $     2,800.08
SO-0000493715    11/3/2015   2010 Leoville Poyferre                 24    $ 100.00 $     2,400.00
SO-0000493715    11/3/2015   2010 Le Dome                           24    $ 141.67 $     3,400.08
SO-0000493715    11/3/2015   2010 Haut Bailly                       24    $    83.33 $   1,999.92
SO-0000493715    11/3/2015   2010 Troplong Mondot                   24    $ 100.00 $     2,400.00
SO-0000493715    11/3/2015   2010 Clos Fourtet                      24    $    83.33 $   1,999.92
SO-0000493715    11/3/2015   09 Smith Haut Lafitte Rouge            24    $ 150.00 $     3,600.00
SO-0000493715    11/3/2015   09 Haut Bailly                         12    $ 133.33 $     1,599.96
SO-0000493715    11/3/2015   2010 Smith Haut Lafitte                12    $ 100.00 $     1,200.00
SO-0000494752    11/9/2015   2000 La Mission Haut Brion             12    $ 450.00 $     5,400.00
SO-0000494752    11/9/2015   2010 Leoville Poyferre                 24    $ 100.00 $     2,400.00
SO-0000494752    11/9/2015   2010 Le Dome                           24    $ 190.00 $     4,560.00
SO-0000494752    11/9/2015   2010 Haut Bailly                       24    $ 100.00 $     2,400.00
SO-0000494752    11/9/2015   2010 Clos Fourtet                      24    $ 110.00 $     2,640.00
SO-0000494752    11/9/2015   2010 Les Asteries                      24    $    80.00 $   1,920.00
SO-0000494752    11/9/2015   09 Haut Bailly                         12    $ 160.00 $     1,920.00
SO-0000494752    11/9/2015   2010 Smith Haut Lafitte                12    $ 100.00 $     1,200.00
SO-0000494399   11/10/2015   09 Haut Brion                          12    $ 541.67 $     6,500.04
SO-0000494399   11/10/2015   2000 La Mission Haut Brion             12    $ 416.67 $     5,000.04
SO-0000494399   11/10/2015   03 Lafite Magnum                       3     $ 1,000.00 $   3,000.00
SO-0000494399   11/10/2015   04 Lafite Rothschild                   12    $ 333.33 $     3,999.96
SO-0000494399   11/10/2015   04 Latour Magnum                       6     $ 666.67 $     4,000.02
SO-0000494399   11/10/2015   08 Latour 3 Liter                      3     $ 1,666.67 $   5,000.01
SO-0000494399   11/10/2015   2000 Pavie                             12    $ 250.00 $     3,000.00
SO-0000494399   11/10/2015   86 d'Yquem                             12    $ 208.33 $     2,499.96
SO-0000494399   11/10/2015   09 Bellevue Mondot                     12    $ 208.33 $     2,499.96
SO-0000494399   11/10/2015   05 Pape Clement                        24    $    83.33 $   1,999.92
SO-0000494399   11/10/2015   02 Clos de Tart                        12    $ 208.33 $     2,499.96
SO-0000494399   11/10/2015   2010 Leoville Poyferre                 24    $ 100.00 $     2,400.00
SO-0000494399   11/10/2015   05 Clos des Lambrays                   12    $ 100.00 $     1,200.00
SO-0000494399   11/10/2015   2010 Rauzan Segla                      24    $    83.33 $   1,999.92
SO-0000494399   11/10/2015   2010 Smith Haut Lafitte                24    $ 100.00 $     2,400.00
SO-0000494399   11/10/2015   2010 Troplong Mondot                   12    $ 100.00 $     1,200.00
SO-0000494399   11/10/2015   2010 Smith Haut Lafitte                12    $    83.33 $     999.96
SO-0000494399   11/10/2015   05 Montrose                            12    $ 100.00 $     1,200.00
SO-0000494399   11/10/2015   2010 Clos Fourtet                      12    $    83.33 $     999.96
SO-0000494399   11/10/2015   03 Leoville Poyferre                   12    $ 116.67 $     1,400.04
SO-0000495663    12/3/2015   09 La Mission Haut Brion               12    $ 400.00 $     4,800.00



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                                                    27
SO-0000495663    12/3/2015   05 Chateauneuf Clos des Papes, Avril       60   $    75.00 $    4,500.00
SO-0000495663    12/3/2015   89 Clinet                                  12   $ 375.00 $      4,500.00
SO-0000495582    12/3/2015   01 Musigny VV, Vogue                       12   $ 400.00 $      4,800.00
SO-0000495663    12/3/2015   05 Hosanna                                 36   $ 130.00 $      4,680.00
SO-0000495582    12/3/2015   2012 Screaming Eagle                       3    $ 2,000.00 $    6,000.00
SO-0000495663    12/3/2015   07 Barolo Ciabot Mentin, Clerico           60   $    70.00 $    4,200.00
SO-0000495663    12/3/2015   2011 Screaming Eagle                       4    $ 1,300.00 $    5,200.00
SO-0000495663    12/3/2015   82 La Mission Haut Brion                   4    $ 600.00 $      2,400.00
SO-0000495582    12/3/2015   2010 Haut Bailly                           24   $ 100.00 $      2,400.00
SO-0000495663    12/3/2015   07 Tignanello, Antinori                    36   $    74.00 $    2,664.00
SO-0000495663    12/3/2015   2010 Volnay Fremiets, Boillot              48   $    50.00 $    2,400.00
SO-0000495663    12/3/2015   99 Cristal                                 12   $ 200.00 $      2,400.00
SO-0000495582    12/3/2015   06 Richebourg, Leroy                       1    $ 900.00 $        900.00
SO-0000495582    12/3/2015   06 Clos de la Roche, Leroy                 1    $ 800.00 $        800.00
SO-0000495785   12/14/2015   07 Musigny, Leroy                          6    $ 2,000.00 $   12,000.00
SO-0000495785   12/14/2015   07 Clos de Beze, Rousseau                  12   $ 375.00 $      4,500.00
SO-0000495785   12/14/2015   2010 Clos Fourtet                          72   $    66.67 $    4,800.24
SO-0000495785   12/14/2015   2010 Leoville Poyferre                     36   $    83.33 $    2,999.88
SO-0000495785   12/14/2015   2010 Chateauneuf Cuvee Impe, R. Usseglio   60   $    54.17 $    3,250.20
SO-0000495785   12/14/2015   03 Clos de la Roche V.V. Magnum, Ponsot    6    $ 500.00 $      3,000.00
SO-0000495785   12/14/2015   09 La Conseillante                         12   $ 108.33 $      1,299.96
SO-0000495785   12/14/2015   09 Le Plus La Fleur de Bouard              24   $    66.67 $    1,600.08
SO-0000495785   12/14/2015   09 Suduiraut                               36   $    37.50 $    1,350.00
SO-0000495785   12/14/2015   2010 Branaire Ducru                        36   $    25.00 $      900.00
SO-0000495785   12/14/2015   2010 Le Carre                              36   $    37.50 $    1,350.00
SO-0000495785   12/14/2015   2010 Bon Pasteur                           36   $    29.17 $    1,050.12
SO-0000495785   12/14/2015   2010 d'Issan                               24   $    31.25 $      750.00
SO-0000495785   12/14/2015   09 Haut Bailly                             12   $ 108.33 $      1,299.96
SO-0000495785   12/14/2015   2010 Cantemerle                            36   $    25.00 $      900.00
SO-000495915    12/14/2015   97 Cheval Blanc                            7    $ 175.00 $      1,225.00
SO-000495915    12/14/2015   03 Carruades de Lafite                     2    $ 100.00 $        200.00
SO-000495915    12/14/2015   03 Forts de Latour                         6    $ 125.00 $        750.00
SO-000495915    12/14/2015   05 Chateauneuf Combe des , Clos St Jean    4    $    75.00 $      300.00
SO-000495915    12/14/2015   05 Clos Fourtet                            12   $    75.00 $      900.00
SO-000495915    12/14/2015   05 Clos l'Eglise (Pomerol)                 6    $    80.00 $      480.00
SO-000495915    12/14/2015   05 Hermitage Ex Voto, Guigal               3    $ 100.00 $        300.00
SO-000495915    12/14/2015   05 Marojallia                              16   $    85.00 $    1,360.00
SO-000495915    12/14/2015   06 Brunello di Montalcino, Pacenti         12   $    50.00 $      600.00
SO-000495915    12/14/2015   07 Hermitage Rouge Ex Voto, Guigal         6    $ 125.00 $        750.00
SO-000495915    12/14/2015   07 Brunello di Montalcino, Pacenti         12   $    40.00 $      480.00
SO-000495915    12/14/2015   07 Chateauneuf du Pape, Charvin            12   $    40.00 $      480.00
SO-000495915    12/14/2015   07 Chateauneuf V.V., Janasse               18   $ 125.00 $      2,250.00
SO-000495915    12/14/2015   07 Corton Charlemagne, Boillot             9    $    75.00 $      675.00
SO-000495915    12/14/2015   08 Ducru 3 Liter                           2    $ 300.00 $        600.00
SO-000495915    12/14/2015   08 Hosanna                                 12   $    75.00 $      900.00
SO-000495915    12/14/2015   08 Troplong Mondot Magnum                  5    $ 100.00 $        500.00
SO-000495915    12/14/2015   09 Clos de Tart                            2    $ 150.00 $        300.00



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SO-000495915    12/14/2015   09 Clos Vougeot, Prieur                     3      $ 100.00 $       300.00
SO-000495915    12/14/2015   09 Volnay Taillepieds, Bouchard            12      $    40.00 $     480.00
SO-000495915    12/14/2015   2010 Chateauneuf Combes de, Clos St Jean    2      $ 100.00 $       200.00
SO-000495915    12/14/2015   2010 Chateauneuf Deux Frere, P. Usseglio   11      $    75.00 $     825.00
SO-000495915    12/14/2015   2011 Clos Vougeot, Faiveley                 5      $    50.00 $     250.00
SO-000495915    12/14/2015   2012 Chateauneuf Reservee Magnum, Pegau     9      $    90.00 $     810.00
SO-0000495808   12/16/2015   09 Ermitage Meal Rouge Magnu, Chapoutier   12      $ 300.00 $     3,600.00
SO-0000495808   12/16/2015   08 Clos de la Roche V.V, Ponsot            24      $ 150.00 $     3,600.00
SO-0000495808   12/16/2015   07 Assorted Case, Ponsot                    2      $ 1,800.00 $   3,600.00
SO-0000495808   12/16/2015   07 Beaucastel                              36      $    37.50 $   1,350.00
SO-0000495808   12/16/2015   2010 Beaucastel                            36      $    33.33 $   1,199.88
SO-0000495808   12/16/2015   2010 Gigondas Hautes Garrigues, Santa Du   36      $    31.25 $   1,125.00
SO-0000495842   12/21/2015   02 Lafite Rothschild                       12      $ 250.00 $     3,000.00
SO-0000495842   12/21/2015   2010 Chambertin, Rousseau                   6      $ 600.00 $     3,600.00
SO-0000495842   12/21/2015   05 Clos des Lambrays                       24      $    75.00 $   1,800.00
SO-0000495842   12/21/2015   04 Latour                                  12      $ 250.00 $     3,000.00
SO-0000495842   12/21/2015   05 Romanee St Vivant, DRC                   4      $ 900.00 $     3,600.00
SO-0000495842   12/21/2015   09 Suduiraut                               48      $    37.50 $   1,800.00
SO-0000495842   12/21/2015   2010 Les Asteries                          36      $    31.25 $   1,125.00
SO-0000495842   12/21/2015   2010 Chateauneuf Cuvee Impe, R. Usseglio   36      $    54.17 $   1,950.12
SO-0000495842   12/21/2015   99 Dom Perignon                            24      $    66.67 $   1,600.08
SO-0000495842   12/21/2015   07 Musigny V.V., Vogue                      6      $ 350.00 $     2,100.00
SO-0000495842   12/21/2015   07 Barolo Pajana, Clerico                  36      $    37.50 $   1,350.00
SO-0000495842   12/21/2015   2010 Musigny, Mugnier                       3      $ 700.00 $     2,100.00
SO-0000495842   12/21/2015   2012 Bonnes Mares, Roumier                  3      $ 600.00 $     1,800.00
SO-0000495842   12/21/2015   2000 Pichon Lalande                        12      $ 116.67 $     1,400.04
SO-0000495842   12/21/2015   09 Chateauneuf Reservee, Pegau             36      $    31.25 $   1,125.00
SO-0000495842   12/21/2015   03 Leoville Poyferre                       12      $ 100.00 $     1,200.00
SO-0000495842   12/21/2015   2010 Gigondas Hautes Garrigues, Santa Du   36      $    31.25 $   1,125.00
SO-0000495842   12/21/2015   2010 Dames de Montrose                     36      $    29.17 $   1,050.12
SO-0000495842   12/21/2015   09 Cantenac Brown                          24      $    33.33 $     799.92
SO-0000495842   12/21/2015   77 Taylor                                  12      $    83.33 $     999.96
SO-0000495842   12/21/2015   2010 Cantemerle                            36      $    29.17 $   1,050.12
SO-0000495842   12/21/2015   85 Salon                                    3      $ 250.00 $       750.00
SO-0000495842   12/21/2015   02 Pol Roger Blanc de Blancs               24      $    41.67 $   1,000.08
SO-0000495842   12/21/2015   2011 Fonseca                               36      $    35.42 $   1,275.12
SO-0000495842   12/21/2015   2011 Fonseca 1/2                           48      $    18.75 $     900.00
SO-0000495842   12/21/2015   2011 Taylor                                36      $    37.50 $   1,350.00
SO-0000495842   12/21/2015   2011 Taylor 1/2                            48      $    18.75 $     900.00
SO-0000495842   12/21/2015   2011 Graham                                24      $    35.42 $     850.08
SO-0000495842   12/21/2015   2011 Dow 1/2                               48      $    18.75 $     900.00
SO-0000495842   12/21/2015   2012 Musigny, Roumier                       1      $ 2,500.00 $   2,500.00
SO-0000495889   12/28/2015   2012 Chateauneuf Reservee, Pegau           120     $    33.33 $   3,999.60
SO-0000495889   12/28/2015   2010 Solaia, Antinori                      24      $ 108.33 $     2,599.92
SO-0000495889   12/28/2015   2000 Taittinger Comtes Champagne Blanc     36      $    75.00 $   2,700.00
SO-0000495889   12/28/2015   09 Cornas, Clape                           12      $    83.33 $     999.96
                                                                        4,411              $ 658,559.47



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                                                    Exhibit D

                                             Additional Obligations
                Sales Order
Sales Order        Date     Description                               Quantity    Unit Price         Total Price
SO-0000325412    10/3/2009   82 Lafite                                  2         $   2,800.00   $       5,600.00
SO-0000326873   10/28/2009   82 Lafite                                  2         $   2,800.00   $       5,600.00
SO-0000327408    11/4/2009   85 Margaux                                 5         $     350.00   $       1,750.00
SO-0000329017   11/25/2009   82 Grange Hermitage                        2         $     279.99   $         559.98
SO-0000329017   11/25/2009   86 Grange Hermitage                        2         $     395.00   $         790.00
SO-0000329019   11/25/2009   87 Dunn Howell Cab                         4         $      99.99   $         399.96
SO-0000332770     2/6/2010   82 Lafite                                  3         $   2,800.00   $       8,400.00
SO-0000338463    6/10/2010   82 Lafite (BN - corroded cap)              1         $   2,800.00   $       2,800.00
SO-0000356205    5/20/2011   89 Haut Brion                              1         $   1,499.00   $       1,499.00
SO-0000362963    9/19/2011   2000 Mouton Magnum                         2         $   2,199.00   $       4,398.00
SO-0000373497     2/3/2012   08 Latour A Pomerol                        60        $      39.99   $       2,399.40
                                                                             84                  $ 34,196.34




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